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             IN THE UNITED STATES DISTRICT COURT FOR THE
                    SOUTHERN DISTRICT OF ALABAMA
                         SOUTHERN DIVISION

  UNITED STATES OF AMERICA                 :

  vs.                                      : CRIMINAL NO.: 23-00170-JB-MU

  JAMES LEROY HARRIS                       :


                        ACCEPTANCE OF GUILTY PLEA
                        AND ADJUDICATION OF GUILT


        Pursuant to the Report and Recommendation of the United States

  Magistrate Judge (Doc. 28) and without any objection having been filed by the

  parties, the plea of guilty of the Defendant to Count(s) One and Two of the

  Indictment, Title 21, U.S.C. § 846 (Conspiracy to Possess with Intent to Distribute

  Controlled Substances) and Title 21 U.S.C. § 841(a)(1) (Possession with Intent to

  Distribute Cocaine, is now accepted and the Defendant is adjudged guilty of such

  offense. A sentencing hearing has been scheduled for April 29, 2024, at 9:00 a.m.

        DONE and ORDERED this 16th day of November 2023.



                                    s/JEFFREY U. BEAVERSTOCK
                                    UNITED STATES DISTRICT JUDGE
